          Case 3:18-cv-00731-TJC-JBT Document 3 Filed 06/07/18 Page 1 of 1 PageID 45
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                   REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                               TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                       Middle District of Florida                             on the following
           Trademarks or    6    Patents. (        the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                    DATE FILED                       U.S. DISTRICT COURT
   3:18-cv-731-J-32JBT                  June 7, 2018                                      Middle District of Florida
PLAINTIFF                                                               DEFENDANT


 TOJO SEA BELOW, LLC                                                     BOAT LIGHTS US, LLC, et al.


        PATENT OR                   DATE OF PATENT
                                                                                  HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                 OR TRADEMARK
1          7,520,644 B2                April 21, 2009                                         Tojo Sea Below, LLC

2          8,016,463 B2             September 13, 2011                                        Tojo Sea Below, LLC



CLERK                                                   (BY) DEPUTY CLERK                                           DATE

         ELIZABETH M. WARREN (Acting)                                        Tabitha Carcaba                               June 7, 2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
